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11

12                              UNITED STATES DISTRICT COURT

13                           NORTHERN DISTRICT OF CALIFORNIA

14   META PLATFORMS, INC., a Delaware                   Case No.
     corporation, INSTAGRAM, LLC, a Delaware
15   limited liability company, and WHATSAPP            COMPLAINT AND DEMAND FOR JURY
     LLC, a Delaware limited liability company,         TRIAL
16
                               Plaintiffs,
17
            v.
18
     DOES 1-100,
19                             Defendants.

20
                                                  COMPLAINT
21
            Meta Platforms, Inc. (“Meta”) (formerly known as Facebook, Inc.), Instagram, LLC, and
22
     WhatsApp LLC, allege the following against Defendants John Does 1-100:
23

24                                           I.   INTRODUCTION
25          1.     Since at least September 2019 and continuing to the present, Defendants have
26   engaged in a wide-ranging internet “phishing” scheme whereby they impersonate Facebook,
27   Messenger, Instagram, and WhatsApp in order to deceive users and steal their login credentials.
28   Defendants have created more than 39,000 websites purporting to be the login pages for

                                                    1
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 1   Facebook, Messenger, Instagram, or WhatsApp. On these websites, Defendants prompted users

 2   to enter their usernames and passwords, which Defendants collected for their own benefit. As

 3   part of their scheme, Defendants used services offered by Ngrok, Inc., to relay internet traffic to

 4   their phishing websites in a manner that obfuscated where the websites were hosted. This has

 5   enabled Defendants to conceal their identities and prolong their phishing attacks.

 6          2.      Plaintiffs bring this action to stop Defendants’ unlawful and harmful conduct, and

 7   to seek records to uncover the identities of the Doe Defendants. Defendants’ conduct violates

 8   Facebook’s Terms of Service, California’s Anti-Phishing Act, and the Lanham Act.

 9                                               II.   PARTIES
10          3.      Plaintiff Meta is a Delaware corporation with its principal place of business in

11   Menlo Park, California. Meta, formerly known as Facebook, Inc., offers Facebook as a service

12   (“Facebook”). Meta also offers Messenger, an instant messaging app, as a service.

13          4.      Plaintiff Instagram, LLC, a subsidiary of Meta, is a Delaware limited liability

14   company with its principal place of business in Menlo Park, California. The Instagram service

15   (“Instagram”), which is provided by Meta, and is a popular photo and video sharing social

16   networking service.

17          5.      Plaintiff WhatsApp LLC, whose corporate parent is Meta, is a Delaware limited

18   liability company with its principal place of business in Menlo Park, California. The WhatsApp

19   service is a cross-platform mobile messaging app used across the globe. Meta acts as

20   WhatsApp’s service provider for security-related issues.

21          6.      Third-party Ngrok Incorporated (“Ngrok”) is a cloud company that provides a

22   variety of services to software developers and technology professionals. Ngrok is a Delaware

23   corporation with its principal place of business in California and offers its services to customers

24   at a basic level for free or as a paid subscription for higher usage and functionality. Users of

25   Ngrok’s free services can “publish” local websites to the publicly accessible internet using

26   unique web addresses (URLs) generated by Ngrok, while paid subscribers can create custom

27   URLs for their websites. These URLs all include the domain name ngrok.io.

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 1            7.     The true identities of Defendants are presently unknown to Plaintiffs. On

 2   information and belief, Defendants are working in concert with one another to knowingly and

 3   willfully operate a phishing scheme directed at Facebook, Messenger, Instagram, and WhatsApp

 4   users.

 5                                  III.    JURISDICTION AND VENUE
 6            8.     The Court has original subject matter jurisdiction over Plaintiffs’ federal claims

 7   pursuant to 15 U.S.C. § 1121, and 28 U.S.C. §§ 1331 and 1338(a). This Court has supplemental

 8   subject matter jurisdiction over Plaintiffs’ state claims pursuant to 28 U.S.C. § 1367(a).

 9            9.     As a result of their phishing scheme, Defendants have access to multiple

10   Facebook, Messenger, Instagram and WhatsApp accounts, and agreed to their various Terms of

11   Service and Use. These Terms each contain a forum selection clause that requires this complaint

12   be resolved by this Court or California state court, and that Defendants submit to the personal

13   jurisdiction of this Court.

14            10.    The Court has personal jurisdiction over Defendants because they purposefully

15   directed and targeted their unlawful activities at California and Plaintiffs, which have their

16   principal places of business in California. Defendants also transacted business and engaged in

17   commerce in California by, among other things, directing their phishing scheme at users of

18   Facebook, Messenger, Instagram, and WhatsApp, including users in California, and using the

19   services of Ngrok, which is a San Diego, California-based technology company, to perpetrate

20   their phishing scheme.

21            11.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because Defendants

22   agreed to the Plaintiffs’ various Terms of Service and Use including their forum selection

23   clauses, and because a substantial part of the events giving rise to the claims occurred in this

24   District.

25                                 IV.     INTRADISTRICT ASSIGNMENT
26            12.    This case is properly assigned on a District-wide basis pursuant to Civil L. R. 3-

27   2(c) because it arises out of Defendants’ infringement of Plaintiffs’ intellectual property rights.

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 1                                                 V.       FACTS
 2                  A.      Background on Phishing Attacks
 3          13.     In this complaint, “phishing attacks” refers to the practice of deceiving internet

 4   users into divulging personal information using fraudulent websites and online impersonation.

 5   The Anti-Phishing Working Group (“APWG”), a nonprofit that works to stop phishing, reported

 6   that phishing attacks doubled in 2020 from the previous year. Anti-Phishing Working Group,

 7   Phishing Activity Trends Report, 2nd Quarter 2021 (Sept. 22, 2021),

 8   https://docs.apwg.org/reports/apwg_trends_report_q2_2021.pdf. In 2020, the FBI Internet Crime

 9   Complaint Center reported over 240,000 phishing scam complaints with losses totaling over $54

10   million. Fed. Bureau of Investigation Internet Crime Complaint Center, Internet Crime Report

11   2020 (Mar. 17, 2021), https://www.ic3.gov/Media/PDF/AnnualReport/2020_IC3Report.pdf. In

12   June 2021, the APWG recorded 222,127 phishing attacks in one month alone, the third-worst

13   month in APWG’s reporting history. Social media companies were the second-most targeted

14   industry in the second quarter of 2021, after financial institutions. Id.

15                  B.      Background on Plaintiffs.
16          14.     Plaintiff Meta Platforms, Inc. is a Delaware corporation with its principal place of

17   business in Menlo Park, California. Meta’s products include the Facebook, Messenger,

18   Instagram, and WhatsApp apps.

19          15.     Facebook is a social networking website and mobile application that enables its

20   users to create their own personal profiles and connect with each other on their personal

21   computers and mobile devices. Messenger is an instant messaging service provided by Meta that

22   is available on mobile devices and desktop computers. Everyone who uses Facebook or

23   Messenger must agree to Facebook’s Terms of Service (“ToS”). The Facebook ToS require

24   everyone that uses Facebook or Messenger to agree not to use the services to do or share

25   anything that: 1) “is unlawful, misleading, discriminatory, or fraudulent”; or 2) “infringes or

26   violates someone else’s rights, including their intellectual property rights.” ToS § 3.2.1.

27          16.     Instagram is a photo and video sharing and editing service, mobile application,

28   and social network. Instagram users can choose to share their photos and videos with their

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 1   followers or with select groups of friends. They can also view, comment, and like posts shared

 2   on Instagram. Everyone who uses Instagram must agree to Instagram’s Terms of Use (“ToU”).

 3   The Instagram ToU prohibit using the service for doing “anything unlawful, misleading, or

 4   fraudulent or for an illegal or unauthorized purpose.” Id. Similarly, Instagram users cannot

 5   “sell, license, or purchase any account… or solicit, collect, or use login credentials … of other

 6   users; or request or collect Instagram usernames [or] passwords.” Id.

 7           17.     WhatsApp is an encrypted messaging application that is used by people and

 8   businesses around the world to communicate and transact in a private way. In order to use

 9   WhatsApp, users must agree to the WhatsApp Terms and Policies (“WhatsApp Terms”).

10   According to the WhatsApp Terms, users “must access and use our Services only for legal,

11   authorized, and acceptable purposes.” Id. Users must not use or assist others in using WhatsApp

12   in ways that are illegal, or “involve sending illegal or impermissible communications.” Id.

13   Moreover, users must not (or assist others to) directly, indirectly, through automated or other

14   means… exploit [WhatsApp] in impermissible or unauthorized manners, or in ways that … harm

15   us, our Services, systems, our users, or others.” Id. This prohibition applies to “gain[ing] or

16   attempt[ing] to gain unauthorized access to our Services or systems [or] interfer[ing] with or

17   disrupt[ing] the safety, security, confidentiality, integrity… of our Services.” Id.

18                   C.       Plaintiffs’ Intellectual Property
19           18.     Meta1, Instagram, and WhatsApp each developed trademarks they use to advertise

20   and market products and services. Defendants used the following trademarks owned by Meta,

21   Instagram, and WhatsApp in the phishing scheme (“the Trademarks”).

22           19.     Plaintiffs duly registered the Trademarks with the United States Patent and

23   Trademark Office on the Principal Register. True and correct copies of the registration

24   certificates for the Trademarks are collectively attached hereto as Exhibit A.

25              MARK                   REGISTRATION                ISSUE              INTERNATIONAL
                                            NO.                    DATE                  CLASS/ES
26
         INSTAGRAM                    4863595                   12/01/2015       38
27

28   1
      Meta owns the trademarks for its Facebook and Messenger services. Instagram, LLC owns the trademarks for the
     Instagram service, and WhatsApp LLC owns the trademarks for the WhatsApp service.
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 1   INSTAGRAM              4856047            11/17/2015   42

 2   INSTAGRAM              4827509            10/06/2015   45
 3   INSTAGRAM              5566030            09/18/2018   42
 4                          4795634            08/18/2015   9, 38, 41, 42, 45
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 6                          4359872            07/02/2013   9, 38
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                            5520067            07/17/2018   9, 38, 42, 45
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11
     WHATSAPP               3939463            04/05/2011   42
12
     WHATSAPP               4083272            01/10/2012   9, 38
13
     WHATSAPP               5492738            06/12/2018   9, 38, 42, 45
14
                            3934743            03/22/2011   9, 35, 38, 41, 42, 45
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     FACEBOOK               3814888            07/06/2010   42
17
     FACEBOOK               3734637            01/05/2010   9, 38, 41, 42
18
     FACEBOOK               3801147            06/08/2010   9, 38, 41, 42
19
     FACEBOOK               3041791            01/10/2006   38
20
     FACEBOOK               4471161            01/21/2014   41
21
     FACEBOOK               4339123            05/21/2013   42
22
     FACEBOOK               4392662            08/27/2013   45
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     FACEBOOK               4449195            12/10/2013   38
24
                            4099518            02/14/2012   38, 45
25
                            4102822            02/21/2012   38, 41, 42
26
                            4102823            02/21/2012   35, 42
27
                            4102824            02/21/2012   38, 45
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 1                                    4639783                    11/18/2014       9, 38, 45

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 3           20.      Plaintiffs’ use of the Trademarks in interstate commerce has been extensive,
 4   continuous, and substantially exclusive. Plaintiffs have made, and continue to make, a
 5   substantial investment of time, effort, and expense in the promotion of their products and the
 6   Trademarks. As a result of Plaintiffs’ efforts and use, the Trademarks are inextricably linked
 7   with the products and services offered by Plaintiffs.
 8
                      D.      Defendants’ Phishing Scheme
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             21.      Beginning no later than 2019, and continuing to the present, Defendants have
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     created and used over 39,000 websites to impersonate the login pages of Facebook, Messenger,
11
     Instagram, and WhatsApp, and steal their users’ login credentials (the “Phishing Websites”).
12
     Defendants used Ngrok to generate a URL for each of the Phishing Websites, and these bore one
13
     or more of the Trademarks. On information and belief, Defendants disseminated these URLs to
14
     their victims.2 When victims visited the Ngrok URLs, they were directed to the Phishing
15
     Websites, prompted to enter their requested credentials, and the credentials were collected by
16
     Defendants.
17
             22.      On information and belief, Defendants published the Phishing Websites using
18
     Ngrok’s service because they did not need to register the URL with a domain registration
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     service, avoiding disclosure of identifying information and registration costs. Instead, Ngrok’s
20
     free service automatically generated URLs as a subdomain of Ngrok’s domain ngrok.io (e.g.,
21
     https://d32831ea3827.ngrok.io/login.html). This prevented Plaintiffs from identifying the real
22
     locations of the Phishing Websites on the internet and being able to work with domain registrars
23
     and hosting providers to take down the Phishing Websites at their source. The obfuscation of
24
     Defendants’ true hosting locations served to prolong and facilitate repeated phishing attacks.
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      See Cyble, Ngrok Platform Abused by Hackers to Deliver a New Wave of Phishing Attacks,
27   https://blog.cyble.com/2021/02/15/ngrok-platform-abused-by-hackers-to-deliver-a-new-wave-of-phishing-attacks/
     (Feb. 15, 2021), Oussama Azrara, Phishing on Facebook and Google with SET and Ngrok,
28   https://www.linkedin.com/pulse/phishing-facebook-google-set-ngrok-oussama-azrara/ (Feb. 9, 2020); Mocking
     G33K, Phishing with Ngrok, https://medium.com/@g33xter/phishing-with-ngrok-252309890b87 (Mar. 10, 2018).
                                                            7
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 1          23.     On information and belief, Defendants also published the Phishing Websites

 2   using Ngrok because, for a fee, they could customize the URLs to deceive the victims. For

 3   example, many URLs include Plaintiffs’ Trademarks, which created the misleading impression

 4   that the Phishing Websites originated from or are otherwise affiliated with Plaintiffs (e.g.,

 5   http://facebook.in.ngrok.io/).

 6          24.     The following are examples of the Phishing Websites, followed by images of the

 7   authentic Facebook, Messenger, Instagram, and WhatsApp websites that they impersonated:

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10                                    * Images on the following pages *

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 1      Figure 1: Phishing Website using Ngrok URL http://9747199d.ngrok.io/dashboard/

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13                         Figure 2: Authentic Facebook Login Page

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 1      Figure 3: Phishing Website in Italian using Ngrok URL http://facebook.in.ngrok.io/

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12                     Figure 4: Authentic Facebook Login Page in Italian
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 1    Figure 5: Phishing Website using Ngrok URL https://d32831ea3827.ngrok.io/login.html

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15                         Figure 6: Authentic Messenger Login Page

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 1                       Figure 7: Phishing Website using Ngrok URL

 2                http://5989c7736ad8.ngrok.io/?php.sgnittes/moc.margatsni/=

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15                        Figure 8: Authentic Instagram Login Page

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 2    Figure 9: Phishing Website using Ngrok URL https://ce3568da7eeb.ngrok.io/login.html

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14                        Figure 10: Authentic Instagram Login Page
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 1        Figure 11: Phishing Website using Ngrok URL https://38ad1bb93210.ngrok.io/

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11                        Figure 12: Authentic Instagram Login Page

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 1        Figure 13: Phishing Website using Ngrok URL https://b71ef0393d7a.ngrok.io/

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                          Figure 14: Authentic WhatsApp Login Page
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 1                                       VI.    CAUSES OF ACTION
 2                                     FIRST CAUSE OF ACTION

 3                         Anti-Phishing Act (Cal. Bus. & Prof. Code § 22948)

 4          25.     Plaintiffs re-allege and incorporate herein each paragraph above.

 5          26.     By creating and disseminating URLs for the Phishing Websites, Defendants

 6   falsely represented themselves to be Facebook, Messenger, Instagram, or WhatsApp, without

 7   Plaintiffs’ authorization.

 8          27.     Defendants’ Phishing Websites were intended to, and on information and belief

 9   did in fact, solicit, request, and induce users of Facebook, Messenger, Instagram, and WhatsApp

10   to provide their account credentials.

11          28.     Plaintiffs were adversely affected by Defendants’ phishing scheme and suffered,

12   without limitation, damage to their brands and reputations, harm to their users, and monetary

13   losses in an amount to be determined.

14          29.     Defendants’ conduct constitutes a violation of Cal. Bus. & Prof. Code

15   § 22948.3(a)(1).

16          30.     As a result, Plaintiffs seek to recover the greater of their actual damages or five

17   hundred thousand dollars ($500,000) pursuant to Cal. Bus. & Prof. Code § 22948.3(a)(1).

18   Further, because Defendants engaged in a pattern and practice of violating the Anti-Phishing

19   Act, Plaintiffs request the trebling of their actual damages pursuant to Cal. Bus. & Prof. Code

20   § 22948.3(c)(1). Plaintiffs further seek an award of their attorneys’ fees and costs of suit

21   pursuant to Cal. Bus. & Prof. Code § 22948.3(c)(2).

22          31.     Plaintiffs further seek to enjoin Defendants’ further violations of the Anti-

23   Phishing Act for the reasons described in the following Causes of Action.

24                                   SECOND CAUSE OF ACTION

25                                     Breach of Contract (by Meta)

26          32.     Plaintiff Meta re-alleges and incorporates herein each paragraph above.

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 1          33.     Access to and use of Facebook and Messenger are governed by the Facebook

 2   ToS. Access to and use of Instagram is governed by the Instagram ToU, which is a contract

 3   between Instagram users and Meta.

 4          34.     Defendants agreed to and became bound by the ToS and ToU through their

 5   collection, trafficking, and use of stolen login credentials for Facebook, Messenger, and

 6   Instagram, and facilitation of their own and others’ fraudulent access of the Facebook,

 7   Messenger, and Instagram services.

 8          35.     Meta has performed all conditions, covenants, and promises required of it under

 9   the ToS and the ToU.

10          36.     Defendants breached the ToS and ToU in multiple ways by the activity described

11   above, including engaging in unlawful, misleading, and fraudulent conduct, and violating Meta

12   and Instagram LLC’s intellectual property rights.

13          37.     Defendants’ breaches have caused Meta to incur damages in an amount to be

14   determined.

15                                     THIRD CAUSE OF ACTION

16                             Trademark Infringement (15 U.S.C. § 1114)

17          38.     Plaintiffs re-allege and incorporate herein each paragraph above.

18          39.     As described above, Defendants have used the Trademarks in interstate

19   commerce.

20          40.     Defendants’ use of the Trademarks is likely to cause confusion, mistake, or

21   deception as to the origin, sponsorship, or approval of Defendants’ unauthorized use of the

22   Trademarks on the Phishing Websites, thereby harming Plaintiffs and their users.

23          41.     Additionally, by reason of Defendants’ acts of trademark infringement, Plaintiffs

24   have suffered damage to the goodwill associated with the Trademarks.

25          42.     The above-described acts of Defendants constitute trademark infringement in

26   violation of 15 U.S.C. § 1114(1) and entitle Plaintiffs to relief.

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 1           43.     As a result, Plaintiffs seek to recover Defendants’ profits, treble actual damages,

 2   costs of the action, and attorneys’ fees pursuant to 15 U.S.C. § 1117(a) and (b). Plaintiffs may

 3   also elect to seek statutory damages under 15 U.S.C. § 1117(c).

 4           44.     Plaintiffs are further entitled to injunctive relief pursuant to 15 U.S.C. § 1116.

 5   Plaintiffs have no adequate remedy at law for Defendants’ wrongful conduct because, among

 6   other things: (a) the Trademarks are unique and valuable property that have no readily

 7   determinable market value; (b) Defendants’ infringement of the Trademarks constitutes harm to

 8   Plaintiffs’ reputation and goodwill such that Plaintiffs cannot be made whole by any monetary

 9   award; (c) if Defendants’ wrongful conduct is allowed to continue, the public is likely to become

10   further confused, mistaken, or deceived as to the source, origin or authenticity of the Phishing

11   Websites; and (d) Defendants’ wrongful conduct, and the resulting harm to Plaintiffs, is

12   continuing.

13                                    FOURTH CAUSE OF ACTION

14                  False Affiliation and Designation of Origin (15 U.S.C. § 1125(a))

15           45.     Plaintiffs re-allege and incorporate herein each paragraph above.

16           46.     The Trademarks are distinctive marks that are associated with Plaintiffs and

17   exclusively identify their business, products, and services.

18           47.     Defendants’ continuous use in commerce of the Trademarks, and variations

19   thereof, is likely to cause confusion, or to cause mistake, or to deceive the relevant public that the

20   Phishing Websites are authorized, sponsored, or approved by, or are affiliated with, Plaintiffs.

21           48.     Defendants’ conduct constitutes false designation of origin in violation of 15

22   U.S.C. § 1125(a), entitling Plaintiffs to relief.

23           49.     By reason of the above-described acts of Defendants, Plaintiffs have suffered

24   damage to the goodwill associated with the Trademarks.

25           50.     As a result, Plaintiffs seek to recover Defendants’ profits, treble their actual

26   damages, costs of the action, and attorneys’ fees pursuant to 15 U.S.C. § 1117(a) and (b).

27           51.     Plaintiffs further seek injunctive relief pursuant to 15 U.S.C. § 1116. Plaintiffs

28   have no adequate remedy at law for Defendants’ wrongful conduct because, among other things:

                                                         18
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 1   (a) the Trademarks are unique and valuable property that have no readily determinable market

 2   value; (b) Defendants’ infringement of the Trademarks constitutes harm to Plaintiffs’ reputation

 3   and goodwill such that Plaintiffs cannot be made whole by any monetary award; (c) if

 4   Defendants’ wrongful conduct is allowed to continue, the public is likely to become further

 5   confused, mistaken, or deceived as to the source, origin or authenticity of the Phishing Websites;

 6   and (d) Defendants’ wrongful conduct, and the resulting harm to Plaintiffs, is continuing.

 7                                        VII.    PRAYER FOR RELIEF
 8          WHEREFORE, Plaintiffs respectfully pray for the following relief:

 9          A.          That the Court enter judgment for Plaintiffs on all claims;

10          B.          That the Court permanently restrain and enjoin Defendants, their directors,

11   principals, officers, agents, representatives, employees, attorneys, successors and assigns, and all

12   others in active concert or participation with them, from:

13                  i.         Accessing, or attempting to access, Plaintiffs’ platforms and computer

14   systems;

15                ii.          Engaging in any activity that disrupts, diminishes the quality of, interferes

16   with the performance of, or impairs the functionality of Plaintiffs’ platforms and computer

17   system;

18                iii.         Engaging in any activity that violates Meta’s Terms, or facilitating others

19   to do the same;

20                iv.          Any infringing use of, or making or inducing others to infringe, any of

21   Plaintiffs’ trademarks including the Trademarks;

22                 v.          Sending any commercial electronic messages that contain any of

23   Plaintiffs’ trademarks, or otherwise representing that Defendants, either directly or by

24   implication, are from or affiliated with Plaintiffs;

25                vi.          Creating, operating, or maintaining any domains, subdomains, or URLs

26   containing Plaintiffs’ trademarks or which are confusingly similar to, or dilutive of, Plaintiffs’

27   trademarks; and

28               vii.          Assisting, aiding, or abetting any other person or business entity in

                                                         19
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 1   engaging in or performing any of the activities listed above.

 2          C.      That Plaintiffs be awarded damages, including but not limited to compensatory

 3   damages, as permitted by law and in an amount to be proven at trial.

 4          D.      That Plaintiffs be awarded its costs, including reasonable attorneys’ fees of this

 5   action, and their reasonable attorneys’ fees.

 6          E.      That the Court grant Plaintiffs such other, further, and additional relief as the

 7   Court deems just and equitable.

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 1                                       DEMAND FOR JURY TRIAL

 2          Plaintiffs hereby demand a trial by jury of all issues so triable pursuant to Rule 38(b) of

 3   the Federal Rules of Civil Procedure.

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 5          DATED this 20th day of December, 2021.

 6
                                                 DAVIS WRIGHT TREMAINE LLP
 7                                               Attorneys for Plaintiffs
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